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EXHIBIT “A-l”

 

 

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E-F|LED

Bexar County, County C|erk

Gerarci Rickhoff

Accepted Date: 1112/2016 3;05;09 P|Vl

20160\/00139 Accepted B : Alma Pat'lno
CAUSE NO’ Alma atlno
M_‘…~ Deputy C|erk

_iAMES M. BLACK, lll § IN THE COU'NTY COURT

§ CC# 03
`VS. § AT LAW NUMBER '

§

§
TRAVELERS LLOYDS OF TEXAS §
lNSURANCB COMFANY AND §
BLAKE THIGPIN § BEXAR COUNTY, TEXAS '

PLA_INTIFF’S ORlGINAL PETITION
TO F[`lrll§'. l-IONORABLE JUDGE OF SAlD COUR,T:

NOW COMES .TAMES M. BLACK, lll (“Plaintift”), complaining of TRAVELERS
LLOYDS OF TEXAS lNSURANCE CGMPANY and BLAKE THIGPIN (“DeFendants"’), and
for such cause of action respectfully ahows unto the Court and Jury as follows:

l. DISCOVERY CONTR()L PLAN

Piaintiff intends to conduct discovery in this case under Level 2 pursuant to Rule 1903 of
the Tcxas Rules 0‘[’ Civil Procedure. Plaintiff currently Seeka monetary reliet`ot` over $20,0{)() but
not more than $iOU,UOO, including damages of any kind, penalties, costs, expenses, prejudgment
interest, and attorney fees. Therefore, Plaintift` asks the Court to order that discovery be
conducted in accordance with a discovery control plan tailored to the particular circumstances of
this suit.

MR_M

Plaintit"fj JAMES l\/I. BLACK, lll, is a resident of Bexar C-ounty, Texas.

Defendant, TRAVELERS LLOYDS OF' TEXAS INSURANCE COMPANY_. is a
corporation engaged in the business of insurance in this State_ lt may be aer\fed With process by

Scrving its registered agent, Corporation Service Company, by certified maii, return receipt

Submit Date! 1111/2016 9158!09 AM

 

 

 

 

 

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requested, at 211 East 7th Street, Suite 620, Austin, TX ?8701~3218. Plaintift` requests service at
this time.

Defendant BLAKE 'IHIGPIN is an individual that may be served With process by serving
him at his place of business located at 4650 Westway Park Blvd., Suite 350, Houston, Harris
County, Texas 77041 by a private process Server.

III. AGENCY AN]] RESPONDEAT SUPERIOR

Whenever in this petition it is alleged that Defendant did any actor thing, it is meant that
Defendant itself or its agents, oft`icers, servants, employees or representatives did such a thing It
was also done with the full authorization or ratification of Defendant or done in the normal
routine, course and scope of the agency or employment of Defendant or its agents, officers,
servants, employees, adjusters or representatives

IV. JURISDICTION AND VENUE

This Court has lurisdiction over this case in that the amount in controversy exceeds the
minimum jurisdictional limits of this Court. Pursuant to 'l`cxas Rule of Civil Prooedure 169 for
Expedited Actions, the Plaintiff seeks monetary relief in an aggregate amount of less than
$lD0,000.0U, including damages ot" any kind, penalties, costs, expenses pre-judgment interest,
and attorney fees.

Venue is'proper in Bexar County, Texas, because all or a substantial part of the events
giving rise to the lawsuit occurred in this eounty.

V. CONDITIONS PRECEDENT

All conditions precedent to recovery have been performed, Waived, or have occurred

 

 

 

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Vl. FACTS
Plaintift` is the owner ot`a Texas l~lomeowuers Policy No. OPJ<i78-9-76574l7`4~676, issued
by Travelers Lloyds ofTexas lnsurance Company (the “Policy”).
Plaintiff owns the insured property, which was stolen and is more specifically described in
Plaintii`t”s Sworn Prooi" of Loss. Stolen items arc also listed and described in documents
provided to Travelers after said information and itemization Was requested by Travelers.
Travelers or its agent, sold the Policy, which insured the Propcity, to Plaintiff.
On October 1, 2014, various items and property vvere stolen from Plaintiff’s fishing yacht
The Plaintift` immediately submitted a claim to Travelers. ’l`ravelers assigned an adjustern
Blal<e ’l`higpin, to the clairn. Traveiers assigned claim number HRN2937 to Plaintit`t‘s claim.
llie adjuster, on behalf of Travelers, requested a list of items stolen from Plaintiti‘"s yacht
Plaintift` provided a list of the items requested by said adjuster along with an estimate ofhovv
much it would cost to replace said items The adjuster, on behalf ot` Travelers, vvas taslted
With the responsibility of conducting a thorough and reasonable investigation of Pla:lntifi"s
claim. The adjuster, on behalf of Travelers, prepared his own estimate on what it could cost
to replace said items, Which vastly underscored, omitted, and undervalued the contents
stolen from the yachtl The adjuster, Blalte 'l`higpin, on behalf of Traveiers, determined that a
payment of $2,821.73 Would compensate Pla`mtifi`for the contents lost in the theft Travelers
did not conduct a thorough investigation ot` the claim. Further, ”l`ravelers arbitrarily
depreciated and withheld depreciation at an excessive percent in violation of the insurance
Code.
Travelers failed to fairly evaluate and adjust Plaintifi“s claim as they are obligated to do

under the Policy and Texas law_ By failing to properly investigate the claim and un'ongfully

 

 

 

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denying full coverage to Plaintiff, Travelers engaged in unfair settlement practices by
misrepresenting material facts to Plaintiff and undervaluing or omitting from consideration
their stolen personal property

Travelers failed to perform its contractual duty to adequately compensate Plaintiff under the
terms of the Policy. Speciiically, Travelers failed and refused to properly pay proceeds of
the Policy, although due demand was made for proceeds to be paid in an amount sufficient
to cover the contents loss and all conditions precedent to recovery upon the Policy had been
carried out and accomplished by Plaintiff. Travelers’ conduct constitutes a breach of the
insurance contract

Travelers nnsrepresented to Plaintiff that some of the stolen contents were not covered
under the ]PolicyJ even though the stoien contents was covered Defendants’ conduct
constitutes a violation of the Texas insurance Code, Unfair Settiement Practiees. Tex. lns.
Code Section 541.060(a)(l).

Travelers failed to make an attempt to settle Plaintifi`s claim in a fair manner, although it
was aware of its liability to Plaintiff under the Policy. Defendants’ conduct constitutes a
violation of the Te_>tas lnsurance Code, Unfair Settlement Practices. Tex. lns- Code Section
541.060 (a)(Z)(A).

Travelers failed to explain to Plaintiff why full payment Was not being made on all contents
stolen. Furthermore, Defendants did not communicate that future payments would be
forthcoming to pay for the entire losses covered under the Policy1 nor did it provide any
explanation for the failure to adequately settle Plaintiff’s claim. Tex. lns. Code Section

541.060(3)(3).

 

 

 

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Travelers failed to affirm or deny coverage of Plaintiff’s claim within a reasonable time.
t~§pecificallyj Plaiutiff did not receive timely indication of acceptance or rejection, regarding
the full and entire claim and all contents, in writing from Defendants. Dcfendants’ conduct
constitutes a violation of the Texas lnsurance Code, Unfair Settleinent Practices. Te)r. lns.
Code Section 541.060(@1)(4).

Travelers refused to fully compensate Plaintiff, under the terms of the Policy, even though
rl`ravelers failed to conduct a reasonable investigation Specifteally, Travelers performed an
outcome-oriented investigation of Plaintist claim, which resulted in a biased, imfair and
inequitable evaluation and valuation of Plaintiff's contents loss. Travelers’ conduct
constitutes a violation of the Texas insurance Code, Unfair Settlement Practices. Tex. Ins.
Code Section 54l.060 (a)(?).

Travelers failed to meet its obligations under the Texas insurance Code regarding timely
acknowledging Plaintiff’s claim, beginning an investigation of Plaintiff’ s claim, and
requesting all information reasonably necessary to investigate Plaintiff’s claim within the
statutorily mandated deadline Trav‘elers’ conduct constitutes violation of the l.`exas
lnsurance Code, Prompt Payment of Claims. Tex. lns. Code Section 542.055.

Travelers failed to accept or deny the Plaintift`s full and entire claim and pay for all stolen
contents reported within the statutory mandated deadline after receiving all necessary
information 'l`ravelers’ conduct constitutes violation of the Texas lnsurance t.'jode5 Prompt
Payment of Claims. Tex. lns. Code Section 542.056.

Travelers failed to meet its obligations under the Te>tas lnsurance Code regarding payment
of a claim without delay. Speciiically, Tiavelers has delayed full payment of Plaintifii`s

claim longer than allowed and, to date, Plaintiff has not yet received full payment for

 

 

 

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Plaintifi’ s claim on all Plaintifi" s stolen contents Travelers’ conduct constitutes violation of
the 'i`exas lnsurancc Code, Prompt Paymcnt of Claims. Tex. lns. Code Section 542.058.

P. After Piaintift’s claim was presented to 'l`ravelers, the liability of Travelers to pay the full
claim for all stolen contents in accordance With the terms of the Policy was reasonably clearv
However, Travelers has refused to pay Plainti'li` in fullJ despite there being no basis
Whatsoever on Which a reasonable insurance company Would. have relied to deny the full
payment on all contents listed and submitted as stolen Travelers’ conduct constitutes a
breach of the common lavv duty of good faith and fair dealing

Q. As a result of Travelers’ Wrongful acts and omissicns, Plaintit`f was forced to retain the
professional services oftbe undersigned attorney and law tiim vvho are representing Plaintiii"
vvith respect to these causes of action

R. Tlie Plaintiff’ s experience is not an isolated case. The acts and omissions of Travelers
committed in this case, or similar acts and omissions, occur With such frequency that they
constitute a general business practice of Travelers with regard to handling these types of
claims Travelers’ entire process is unfairly designed to reach favorable outcomes for the
company at the expense of the policyholder.

VII. THE ORIES OF LIABILITY

A. Cause of Action for Breach of Contract
Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein
According to the Insurance Policy that Plaintiff purchased, Travelers has the duty to

investigate and pay Plaintit`t’s policy benefits for claims made for covered losses, for stolen

 

 

 

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personal property, including additional benefits under the Policy, resulting from the losses As a
result of these losses, which under the Policy, the Plaintiff`s has been damaged

Travelers’ failure and continued refusal, ila described above, to pay the adequate
compensation as it is obligated to do under the terms of the Policy in question and under the laws
of the State of Texas, constitutes a breach of Travelers’ contract With Plaintiff. As a resuit of this
breach of contract, Plaintiff has suffered the losses that are described in this petition Plaintiff
asserts Travelers clearly breached its contract cf insurance by failing to pay a reasonable amount
for like, kind and quality of ah stolen items reported by Plaintiff. *l`hcse stolen items include but
are not limited to:

l. A custom removable yacht/fighting chair;

2. A flat screen TV;

3. licnders, dock lines, and various ropes for securing the yacht When traveling to
different ports;

4. Water softener;

5. Fly bridge curtains and enclosures;

6. Magriurn portable propane BBQ pit; and,

7. Tools
B. Cause of Action for Violation ofSection 542

T'he Plaintiff re-alleges and incorporates by reference ali previous and subsequent
paragraphs herein

Ti'avelei's’ acts, oinissions, failuress and conduct that are described in this petition violate
Section 542 of the Texas lnsurance Code. Within the timeframe required after the receipt of

either actual or written notice ot` the Plaint'ift’ s claim for § stolen property, Travelers did not

 

 

 

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request from Plaintiff any additional items: statementsz and forms that it reasonably believed at
that time Would be required from Plaintiff for Plaintist claim As a result, Travelers has violated
Section 542 by failing to accept or reject Plaintift"s claim for ali stolen items in Writing within
the statutory timeframe. Travelers also violated Section 542 by failing to pay Plaintii"f’s full
claim for all stolen items vvithiu the applicable statutory pel'iod. ln addition, in the event it is
determined that Travelers owes Plaintifi" any additional monies on Plaintiti"s stolen property
elairn, then Travelers has automatically violated Section 542 in this case.

C. DTPA Cause of Action

The Plaintiff re-alleges and incorporates by reference all previous and subsequent
paragraphs herein

The Plaintiff incorporates all the allegations in this petition for this cause of action
against Travelers under the provisions of the DTPA. The Plaintiff is a consumer of goods and
services provided by Det`endant pursuant to the DTPA. The Plaintift` has met all conditions
precedent to bringing this cause of action against Travelers. Specificaliy, Travelers’ violations of
the DTPA include, Without limitation, the following inatters:

By its acts, ornissions, failures, and conduct that are described in this petition, Travclers
has violated Sections 17.46 (b)(fZ), (5), (?), (12) and (_19) of thc DTPA. ln this respect, Travelers’
violations include, vvithout limitation (l) its unreasonable delays in the investigation adjustment
and resolution of Plaintii`f’s ciaim, (2) its failure to give Plaintiffthe benefit of the doubt, and (3)
its failure to pay rior the proper replacement of all of Plaintit`f’s stolen contents on which liability

and the obligation to pay for all stolen items had become reasonably olear.

 

 

 

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As described in this petition, Travelers represented to Plaintiff that its insurance policy
and Travelers’ adjusting and investigative services had characteristics or benefits that it did not
have, Whieh gives Plaintiff the right to recover under Section 17.46 (b)(§) of the DTPA;

As described in this petition, Travelers represented to Plaintiff that its insurance policy
and Travelers’ adjusting and investigative services were of a particular standard, quality, or grade
vvhcn they Were of another in violation of Section 17.46 (b){'}’) of the DTPA;

A‘ As described in this petition, Travelers represented to Plaintiff that its insurance
policyr and Travelers’ adjusting and investigative services conferred or involved
rights, reinedies, or obligations that it did not have, vvhich gives Plaintiff the right
to recover under Section 17.46 (b)(ll) of the DTPA;

B. Travelers has breached an express Warrant_v that the loss of contents caused by the
theft of Plaintifi” s yacht would be covered under the insurance policies This
breach entitles the Piaintiff to recover under Sections 17.46 (b)(lll) and (19) and
17.50 (a)(Z) of the DTPA;

C. Travelers’ actions, as described in this petition, are unconscionable in that they
took advantage of Plaintiti`s lack of kno\vledge, ability, and experience to a
grosslyr unfair degree Travelers’ unconscionable conduct gives Plaintit`f the right
m relief under section 17.5`0(3)(3) ernie DTPA; and

D. Travelers’ conduct acts, omissions1 and t"ailures, as described in this petition, are
unfair practices in the business of insurance in violation of Section 17.59 (a)(4) of
the DTPA.

All of the above-described acts, oniissions, and failures ol" Travclers are a producing

cause of Plaintiff“s losses that are described in this petitionl All of the above-described acts,

 

 

 

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omissions, and failures of Travelers Were done knowingly and intentionally as those terms are
used in the Texas Deceptive rl`rade Practices Act.
D. Causc of Action for Unfair Insurancc Practices

The Plaintit`f re-alleges and incorporates by reference all previous and subsequent
paragraphs herein

The Plaintifl` incorporates all the allegations in this petition for this cause of action
against Travelers under the 'l`cxas lnsurance Code. The Plaintiff has satisfied all conditions
precedent to bringing this cause ol" action By its acts, oinissions, failures, and conduct, Travelers
has engaged in unfair and deceptive acts or practices iu the business of insurance in violation ot`
541 of the Texas lnsurance Code. Such violations include, Without liinitat_ion, all the conduct
described in this petition plus Travelers’ unreasonable delays in the investigation, adjustment3
and resolution of the Plaintii`f’s claim and Travelers’ failure to pay for the proper replacement of
all of the items stolen from the Plaintii`f on which liability had become reasonably clear. They
further include Travelers’ failure to give Plaintiif the benefit of the doubt Specitically, Travelers
is guilty of the following unfair insurance practices:

A. Engaging in false, misleading, and deceptive acts or practices in the business of
insurance in this case;

B. Engaging in unfair claims settlement practices;

C. Misrepresenting to Plaintiil` pertinent facts or policy provisions relating to the
coverage at issue;

D. l\lot attempting in good faith to effectuate a prompt, fair, and equitable settlement
of claims submitted in which liability has become reasonably cl.ear;

E. Failing to afirni or deny coverage of Plaintit`FS claim for all stolen property

Within a reasonable tiine;

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F, Refusing to pay Plaintiff’s claim without conducting a reasonable investigation
With respect to the claim; and

G. Failing to provide promptly to a policyholder a reasonable explanation of the
basis in the insurance policy in relation to the facts or applicable la.v~r for the
denial of a claim or for the offer of a company’s settlement

Travelers has also breached the ”fexas Insurance Code When it breached its duty of good
faith and fair dealing Defendant’s conduct as described herein has resulted in Plaintifi’s losses
that are described in this petition

All of the above~described acts_, omissions, and failures of Tiavelers Were done
knowingly as that term is used in the 'fexas lnsurance Code. l`iie Travelers adjuster knowingly
omitted payment for many ofPlaintiff’ s stolen property items.

E. Cause of Aetion for Br'each of I)uty of Good Faith and Fair Dealing

Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs
herein.

Plaintift` incorporates all the allegations of the preceding paragraphs for this cause of
action By its acts, omissions, failures, and conductJ Travelcrs has breached its common law duty
of good faith and fair dealing by failing to pay the proper amounts on Plaintifl’ s entire claim
without any reasonable basis and by failing to conduct a reasonable investigation to determine
Whether there vvas a reasonable basis for this denial Travelers has also breached this duty by
unreasonably delaying payment of Plaintifl’s entire property claim and by failing to settle
Plaintit`t’s entire claim because ”l`ravelcrs knew or should have known that it was reasonably clear
that the claim for all stolen property was covered These acts, omissions, failures, and conduct of

T.ravelers are a proximate cause of Plaintiff’s losses.

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VIII. WAIVER AND ESTOPPEL
Travelers has waived and is estopped from asserting any coverage defenses, conditions,
exclusions or exceptions to coverage not contained in any reservation of rights letter to the
Plaintiff.

IX. DAMAGES

The above described acts, omissions, failures, and conduct of Travelers caused Plaintift’s
damages, vvhich include, Without lirnitation, the cost to properly replace the items stolen from
Plaintif_t" s yacht and any investigative fees incurred in the elaitn. The Plaintiff is also entitled to
recover consequential damages from Travelers’ breach of contract The Plaintiff is also entitled
to recover the amount of Plaintiii`s claim plus an 18% per annmn penalty on that claim against
Defendant as damages under Section 542 of the Texas lnsurance Code, plus prejudgment interest
and attorneys fees. All the damages described in this petition are Within the jurisdictional limits
of the Court and the Piaintiff seeks monetary relief in an aggregate amount over $.'Z0,00U and not
more than $100,00(), including damages of any lcind, penalties costs, expenses, pre-judgment
interest, and attorney fees.

X. ADDITI(]NAL DAMAGES

Travelers has also “l<nowingly" and “intentionally” committed deceptive trade practices
and unfair insurance practices as those terms are defined in the applicable statutes Because of
Texas liarrners7 knowing and intentional miscondnct, Plaintiff is entitled to additional damages
as authorized by Section l?.${)(b)(l) of the DTPA. Plaintiff is further entitled to the additional

damages that are authorized by Section 541 of the Texas lnsuranee Code.

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XI. EXEMPLARY DAMAGES

Travelers’ breach of its duty of good faith and fair dealing owed to Plaintiff Was done
intentionally, with a conscious indifference to the rights and welfare of Plaintit`f, as defined in
Chapter 4l of the Texas Civil Practice and Reniedies Code. These violations by Travelers are
the type ot` conduct Which the State of Texas protects its citizen against by the imposition of
exemplary damages Therefore, Plaintiff seeks the recovery of exemplary damages in an amount
to be determined by the finder of fact that is sufficient to punish Travelers for its Wrongful
conduct and to set an example to deter Travelers and others similarly situated from committing
similar acts in the funne,

XII. ATTORNEYS’ FEES

As a result of Travelers’ conduct that is described in this petition, Plaintiff has been
forced to retain the undersigned attorneys to prosecute this action and has agreed to pay
reasonable attorneysr fees. Plaintiff is entitled to recover these attorneys' fees under Chapter 38 of
the Texas Civil Practices and Rernedies Code, Sections 541 and 542 of the Texas Insuranco
Code, and Section 17.50 of the DTPA.

XIII. DISCOVERY

Under the 'l`exas Rule of Civil Procedure 194, the Det`endant is requested to disclose
Within fifty (50) days of service of this request, the information or material described in TeXas
Rule of Civil Procedure 1942 (a) through (l).

XIV. JURY DEMANI)

Plaj_ntiff demands a jury trial and tenders the appropriate fee with this petition.
XV. PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to
appear and answer herein, and that upon trial hereof said Plaintit`f have and recover such sums as

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would reasonably and justly compensate Plaintiff in accordance with the rules of law and
procedure, both as to actual darnages, consequential damages, treble damages under the Texas
Insurance Code and Texas Deceptive Tradc Practices Act= and all punitive and exemplary
damages as may be found. in addition, Plaintiff requests the award of attorney’s fees for the trial
and any appeal of this case, for all costs of eourt, for prejudgment and post-judgment interest as
allowed by law, and for any other and further reliet`, at law or in equity, to which Plaintiff may
show himself to be justly entitled

Respectfully subinitted,

SPARR dc GEER_DES, INC.

1313 N`E LooP 410, SUITE 100

SAN ANroNio, TExAs 78209

210-828-6500 - TsLaPHoNs

210-823-$444 - Tsi,scoeiea

/s/RICHARDA .SPA rea Jre.
B Y :

 

RICHARD A. SPARR JR.
STATE BARNG. 1888?`3(}0
ATTORNEYS FOR THE PLAINTIFF

 

